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          Exhibit 7
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                                                              U.S. Department of Justice

                                                              Civil Division, Fraud Section




601 D Street, NW                                                      Telephone: (202) 305-9300
Ninth Floor                                                           Telecopier: (202) 616-3085
Washington, D.C. 20004


Via Electronic Mail                                                   May 5, 2011

Stefan Mentzer
White & Case LLP
1155 Avenue of the Americas
New York, New York 10036-2787

         Re:       In re: Pharmaceutical Industry Average Wholesale Price Litigation,
                   MDL No. 1456/Civil Action No. 08-10852-PBS (D. Mass.)

Dear Mr. Mentzer:

         In your letter of yesterday, you inquired as to whether CMS’s consideration of
defendants’ Touhy request is somehow conditioned on withdrawal of the separate subpoena
defendants posted on LexisNexis. As I had hoped to make clear in my letters to you and Paul
Carberry, a principal problem with the Touhy request is that you sent it to CMS after discovery
closed in your case. Additionally, the request is unduly burdensome and seeks irrelevant and
privileged information. These problems with the Touhy request exist irrespective of whether you
are simultaneously attempting to enforce the subpoena on a separate track. Withdrawal of the
subpoena would not cure them, and indeed would have no bearing on these points. As I stated in
the letter, withdrawal of the subpoena would merely put the matter in the appropriate procedural
posture.

         Thank you for your attention.


                                                       Very truly yours,

                                                               /s
                                                       Justin Draycott
                                                       Trial Attorney
                                                       Commercial Litigation Branch
